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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

LAURA M. HEPPOLETTE,

      Plaintiff,

v.                                          CASE NO.:________________

DFJ VINHOS, S.A. a Portuguese
Corporation, and JESSICA HAULTER,

      Defendants.


                                COMPLAINT


      COMES NOW, Plaintiff LAURA M. HEPPOLETTE (“Heppolette”), an

individual citizen of the State of Georgia, and, by and through her undersigned

counsel, hereby submits this Complaint against Defendants DFJ VINHOS,

S.A., a Portuguese corporation (“DFJ Vinhos”) and JESSICA HAULTER

(“Haulter”), an individual citizen of the State of Florida, showing this

Honorable Court as follows:

                          NATURE OF THE CASE

                                      1.

      The gravamen of this action involves the Defendants’ intentional

infringement of Plaintiff’s original photography work for financial gain and

commercial purposes. At the core, this action is primarily focused on DFJ



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Vinhos’ infringement of a bulldog photograph originally captured by Plaintiff

in 2006 that is subject to Plaintiff’s copyright protection under Registration

Number VA 2-367-866 (the “Copyrighted Photograph”). In April 2023, Plaintiff

first became aware the Copyrighted Photograph appeared commercially as a

label on wine cases produced by DFJ Vinhos – a large winery based in Portugal

that distributes its wine products globally, including in Georgia. Plaintiff

recently discovered that DFJ Vinhos originally began using a derivative of the

Copyrighted Photograph on its wine labels as early as 2015.

      Plaintiff is also bringing claims against Haulter for declaratory

judgment    and    copyright    infringement      premised     upon      Haulter’s

misappropriation and infringement of the Copyrighted Photograph for her own

personal financial gain. Plaintiff discovered that Haulter claimed the

Copyrighted Photograph as her own and that Haulter had entered into a

monetary   settlement   agreement    with       DFJ   Vinhos   wherein    Haulter

purportedly defrauded DFJ Vinhos by misrepresenting the true ownership of

the Copyrighted Photograph. Upon information and belief, Haulter received

proceeds, or is due to receive proceeds, from the settlement agreement with

DFJ Vinhos without informing Plaintiff nor seeking Plaintiff’s permission nor

consent to enter into a settlement agreement concerning Plaintiff’s

Copyrighted Photograph.




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      Accordingly, Plaintiff brings this action seeking monetary and injunctive

relief against DFJ Vinhos for infringement of the Copyrighted Photograph and

disgorgement of profits received from the commercial use thereof. Additionally,

Plaintiff seeks monetary and injunctive relief against Haulter for infringement

of the Copyrighted Photograph as a consequence of claiming the Copyrighted

Photograph as her own property and then entering into a settlement

agreement from which she received financial gain.

                                  PARTIES

                                      2.

      Plaintiff is an individual person residing in Cherokee County, Georgia,

and a citizen thereof.

                                      3.

      Upon information and belief, DFJ Vinhos, is a foreign corporation

registered under the laws of Portugal, with its principal place of business

located at 2070-68 Vila Cha de Ourique, Portugal.

                                      4.

      Haulter is an individual person residing in Orange County, Florida, and

a citizen thereof.

                              JURISDICTION

                                      5.




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      This Court has original jurisdiction over this action under the provisions

of 28 U.S.C. §§ 1331 and 1338 (a) because it is a civil action involving a federal

question of law arising under the Copyright Act, 17 U.S.C. § 501.

                                       6.

      This Court also has original jurisdiction over this action under the

provisions of 28 U.S.C. § 1332 because it is a civil action in which the amount

in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is among citizens of different States and foreign states such that

complete diversity exists.

                                       7.

      This Court has personal jurisdiction over DFJ Vinhos because it has

conducted business in the State of Georgia, has directed activities at residents

of the State of Georgia, and the infringement occurred in the State of Georgia,

specifically within the Northern District.

                                       8.

      DFJ Vinhos marketed and sold, with sufficient minimum contact, its red,

rose, and white wine blends bearing a label cordially known as the “PAXIS

Bulldog” which is a derivative work of the Copyrighted Photograph.

                                       9.

      DHJ Vinhos marketed and sold the “PAXIS Bulldog” labeled wine

products through domestic distributors in the State of Georgia including,


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among others, Costco Wholesale Corporation, a foreign corporation registered

to do business in the State of Georgia (“Costco”), Cost Plus World Market, LLC,

a foreign limited liability company registered to do business in the State of

Georgia (“World Market”), and Retail Services & Systems, Inc. which does

business as Total Wine & More at five locations in the State of Georgia,

including in the Northern District (“Total Wine”).

                                     10.

       This Court has personal jurisdiction over Haulter because she reached

into the State of the Georgia by infringing upon Plaintiff’s Copyrighted

Photograph through electronic means and directed electronic communications

into the State of Georgia.

                                   VENUE

                                     11.

       Venue for this action is proper pursuant to 28 U.S.C. §§ 1391 and 1400

(a).

                        FACTUAL BACKGROUND

   A. The origin of the Copyrighted Photograph.

                                     12.

       Plaintiff has engaged in the art of photography throughout her lifetime

and has publicized many of her photographic works online with a disclaimer

that she owns and reserves all rights to the photographs.


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                                      13.

      In or about June of 2006, Haulter requested for Plaintiff to take care of

an English Bulldog named Brooklyn (“Brooklyn the Bulldog”) while Haulter

was out-of-town.

                                      14.

      During this period in 2006, Haulter resided in New York and Mrs.

Heppolette resided in New Jersey.

                                      15.

      While Plaintiff was in temporary possession of Brooklyn the Bulldog,

Plaintiff captured several artistic photographs of Brooklyn the Bulldog within

the confines of Plaintiff’s personal residence at the time. True and correct

images of the photographs Plaintiff personally captured that weekend of

Brooklyn the Bulldog are included in an album series attached hereto as

Exhibit A.

                                      16.

      Haulter was not present at the time the images depicted in Exhibit A

were captured on camera. Haulter did not suggest that Plaintiff take the

images and she did not direct any elements of the images (e.g., lighting, filters,

poses, etc.).

                                      17.




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      One of the images depicted in Exhibit A would later become the subject

of this litigation. Specifically, the photograph attached hereto as Exhibit B

depicting Brooklyn the Bulldog in a resting, front-facing position. Exhibit B is

an original, unedited version of the photograph of Brooklyn the Bulldog that

Plaintiff personally captured on or about June 22, 2006.

                                     18.

      On or about July 28, 2006, Plaintiff uploaded a cropped version of Exhibit

B to her Flikr.com account. A true and correct image of Plaintiff’s Flikr.com

account depicting the cropped version of Exhibit B with the upload date visible

is attached hereto as Exhibit C. Exhibit C is the primary image subject to the

Copyrighted Photograph. Plaintiff’s Flickr.com personal page with a direct link

to the Copyrighted Photograph may be found at:

https://www.flickr.com/photos/lauralatham/200114822/in/photolist-6e7FqZ-
ZaeUzQ-2gToiC7-n94zj-iFDeD-iFDdJ-iFDay-iFDbM-n94zo-oFZUD-6e7Fqa-
iFDcQ-iFDbb-6ebQMo-6ebQMb-4QgSgC-8gUwPW-oFZXn-8V5zJh-4U42Hc-
5aEjDd-4uwJG-7xTvV5-5Fa81R-4N181i-n94zg-2nsZCXg-2e1oq5-FhGRY3-
dGGHmn-GSTbVh-cqDbi-sWCyfL-GSTcQU-GSTckf-yZLkfb-9wRj84-
8GWCKS-2n8jstu-6QgfoF-2inCDp-6zMP7C-6Qgfj8-5Gp8TS-5dkemD-
gX3Qy4-8gT5LH-oYvFJ-7hBXG8-agcUgm/

                                     19.

      Flickr.com is an image and video hosting service with its principal place

of business located in San Francisco, California. Founded in 2005, Flickr.com

became a popular online website for users to upload and share personal

photographs in addition to a hosting website for images utilized by photograph


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researchers and bloggers that are imbedded into blogs and other social media

platforms.

                                    20.

      One of Flickr.com’s features includes the ability for users who upload

personal photographs to release such photographs to the general public under

common usage licenses, specifically the Creative Commons licensing option for

“all rights reserved”.

                                    21.

      Pertinently, the Copyrighted Photograph included “© All rights

reserved” as a Creative Commons’ licensing feature on the Flickr.com website

that Plaintiff selected when she uploaded the Copyrighted Photograph on July

28, 2006. The Copyrighted Photograph is on Plaintiff’s Flickr.com account to

this day.

                                    22.

      As further evidence of Plaintiff’s original undertaking, an expanded

image of the Copyrighted Photograph, attached hereto as Exhibit D, depicts

Plaintiff’s Flickr.com account with the relevant exchangeable image file

metadata (“EXIF”) for the Copyrighted Photograph.

                                    23.

      The EXIF metadata plainly shows that the Copyrighted Photograph was

originally captured on June 22, 2006 with an Olympus “Stylus 300” Digital


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Camera, manufactured by Olympus Optical Co., Ltd (the “Olympus Camera”).

Plaintiff then modified the Copyrighted Photograph by cropping the image via

Adobe Photoshop CS2 Windows on June 26, 2006. Shortly thereafter, Plaintiff

uploaded the Copyrighted Photograph to her personal Flickr.com account on

July 28, 2006.

                                    24.

     Plaintiff physically possessed the Olympus Camera on June 22, 2006 and

personally captured the Copyrighted Photograph the same day.

                                    25.

     Plaintiff is the original and current owner of the Olympus Camera that

captured the Copyrighted Photograph. Indeed, Plaintiff still possess the

Olympus Camera to this day.

                                    26.

     Plaintiff has a Certificate of Registration for the Copyrighted

Photograph from the U.S Copyright Office with Registration Number VA 2-

367-866 and an effective date of October 24, 2023 (the “Certificate of

Registration”). A true and correct copy of the Certificate of Registration is

attached hereto as Exhibit E.

  B. DFJ Vinhos’ infringement of the Copyrighted Photograph.

                                    27.




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      Upon information and belief, Mr. Dino Ventura (“Ventura”) is one of DFJ

Vinhos’ original partners and considered a prominent sales and marketing

individual who directs the exportation of DFJ Vinhos’ wine products to the

world.

                                      28.

      According to publicly available information, Ventura once observed

British school children playing a traditional and physical game in the United

Kingdom known as “Bulldog” (comparable to the game of “it” or “tag” in the

United States). During the game of Bulldog, Ventura further observed the

school children shouting “PAXIS” as a way to express immunity from being

caught. Ventura adopted the term “PAXIS” for certain DFJ Vinhos wines to

symbolize the escape from the stress of the world where one could appreciate

great wine.

                                      29.

      Upon information and belief, in or about March of 2015, DFJ Vinhos

engaged a creative artist to render a label for the “PAXIS” brand of wines sold

by DFJ Vinhos.

                                      30.

      Ultimately, DFJ Vinhos decided to use a picture of a resting English

bulldog (the “PAXIS Bulldog”) epitomizing Ventura’s interpretation of the term

“PAXIS” he once observed in the game of Bulldog (the “PAXIS Label”).


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                                      31.

      A true and correct image of the PAXIS Label that appears on various

wine products distributed by DFJ Vinhos is attached hereto as Exhibit F.

                                      32.

      Upon information and belief, DFJ Vinhos created an entire brand built

upon the PAXIS Bulldog.

                                      33.

      An overlay examination of the PAXIS Label and the Copyrighted

Photograph reveals that both are substantially the same image. For

comparison, an overlay depiction of the PAXIS Label and the Copyrighted

Photograph is attached hereto as Exhibit G.

                                      34.

      DFJ Vinhos admitted that it hired a creative artist based in the United

Kingdom to search for online images of English bulldogs to create a coal pencil

drawing of the image which would become the PAXIS Bulldog on the PAXIS

Label.

                                      35.

      Therefore, DFJ Vinhos admits the PAXIS Label is a derivative work from

an image found online.

                                      36.




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      The Copyrighted Photograph has appeared online in a published form

since July 28, 2006 and, for a significant period of time, a generic online search

for “bulldog” yielded Plaintiff’s Copyrighted Photograph as a top search result.

                                       37.

      The Copyrighted Photograph is nearly identical in proportion and scale

to the coal pencil image that DFJ Vinhos uses as the PAXIS Label.

                                       38.

      According to its official website, DFJ Vinhos produces ten (10) million

bottles of wine annually and 99% of its production is exported to more than

fifty (50) countries around the world, including the United States and

specifically in the State of Georgia and the Northern District.

                                       39.

      DFJ Vinhos also acknowledges on its official website that its PAXIS

“Bulldog” tinto 2013 – V.R. Lisboa wine earned an award as the #5 Top Best

Buy Wine of 2016 – an award given by Wine Enthusiast, one of the most

reputable and prestigious magazines in the wine world and published in the

United States.

                                       40.

      DFJ Vinhos did not have permission, license, or consent to use Plaintiff’s

Copyrighted Photograph as the source for the derivative PAXIS Bulldog on the

PAXIS Label.


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                                      41.

      Consequentially, DFJ Vinhos improperly copied, displayed, and

distributed Plaintiff’s Copyrighted Photograph by using the derivative PAXIS

Label on its red, rosé, and white wine blend bottles, including all variations

thereof, sold under the PAXIS “Bulldog” brand for commercial gain without

compensation to Plaintiff.

   C. Plaintiff’s discovery of DFJ Vinhos’ infringement.

                                      42.

      In or about April 2023, Plaintiff’s husband, while at a Costco store

located in the Northern District of Georgia, noticed a stack of boxed wine cases

bearing an eerily similar label to a photograph he recalled that Plaintiff once

captured and uploaded to her Flickr.com account.

                                      43.

      Plaintiff’s husband took a picture of the boxed “PAXIS” wine cases. A

true and correct copy of the photograph taken by Plaintiff’s husband is

attached hereto as Exhibit H.

                                      44.

      After Plaintiff’s husband sent the picture shown in Exhibit G to Plaintiff,

Plaintiff compared it with the Copyrighted Photograph and immediately

recognized the PAXIS Bulldog as the same image of Brooklyn the Bulldog in

the Copyrighted Photograph.


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                                     45.

      On or about April 18, 2023, Plaintiff sent an Instagram message to

Haulter comparing the Copyrighted Photograph with the PAXIS Bulldog.

                                     46.

      Haulter responded that she would reach out to a “lawyer friend” to ask

for advice.

   D. Haulter’s fraudulent lawsuit               and   infringement   of   the
      Copyrighted Photograph.

                                     47.

      On or about May 18, 2023, Haulter, through an attorney, filed a

copyright registration with the U.S. Copyright Office claiming ownership of the

Copyrighted Photograph (the “False Haulter Copyright”).

                                     48.

      The False Haulter Copyright is indexed under Registration Number VA

2-347-785. A true and correct copy of the Certificate of Registration for the

False Haulter Copyright is attached hereto as Exhibit I.

                                     49.

      Haulter did not inform Plaintiff she intended to register the Copyrighted

Photograph under her own name.

                                     50.




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      Haulter is not the author or creator of the Copyrighted Photograph at

issue in this litigation.

                                     51.

      Haulter does not and has never possessed the Olympus Camera that

captured the Copyrighted Photograph.

                                     52.

      Haulter was not physically present at Plaintiff’s residence on June 22,

2006 when the photographs of Brooklyn the Bulldog attached hereto as Exhibit

A were taken by Plaintiff.

                                     53.

      Plaintiff has not transferred any property rights associated with the

photographs in Exhibit A, including the Copyrighted Photograph, to Haulter

nor anyone else.

                                     54.

      On or about June 22, 2023, Haulter electronically communicated to

Plaintiff that a lawsuit would be filed “in the US Court” and “they will be

served later this week.”

                                     55.

      Plaintiff was led to believe that Haulter would be making a claim in her

own name as the purported owner of the bulldog and not as the owner of the

Copyrighted Photograph.


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                                     56.

      On or about July 10, 2023, Haulter filed a “Complaint for Copyright

Infringement” against DFJ Vinhos, et al., in the United States District Court

for the Middle District of Florida, Orlando Division with case number 6:23-cv-

01279-WWB-LHP (the “Haulter Lawsuit”).

                                     57.

      Haulter only named herself as a plaintiff in the Haulter Lawsuit.

                                     58.

      Haulter filed an “Amended Complaint for Copyright Infringement” in the

Haulter Lawsuit on July 11, 2023.

                                     59.

      In the Haulter Lawsuit, Haulter alleged that she personally “created an

original photograph entitled ‘Brooklyn the English Bulldog Sleeping’ ” and

alleged she created it “as the photographer.”

                                     60.

      The photograph defined as the “Copyrighted Work” in the Haulter

Complaint is a copied image from Plaintiff’s personal webpage at

www.lauralatham.com where Plaintiff also uploaded the Copyrighted

Photograph.

                                     61.




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      In fact, the “Copyrighted Work” in the Haulter Lawsuit (Exhibit J to the

Amended Complaint) contains a watermark showing “2006.lauralatham.com”

in the bottom right-hand corner.

                                        62.

      In Paragraph 19 of Haulter’s Amended Complaint, she alleges that she

“featured the ‘Copyrighted Work’ on her Flickr page on or about April 9, 2009”

and referenced Exhibit J thereto.

                                        63.

      Haulter admitted the “Copyrighted Work” in the Haulter Lawsuit that

she allegedly uploaded to Flickr.com displayed “Some Rights Reserved” as a

hyper-link designation.

                                        64.

      Haulter does not have any legal rights whatsoever to her alleged

“Copyrighted Work” nor Plaintiff’s Copyrighted Photograph in this litigation

which is the photograph Plaintiff captured on June 22, 2006.

                                        65.

      On or about July 24, 2023, Haulter electronically messaged Plaintiff that

“[t]hey were served and I just got off the phone with the lawyer and they are

filing a bunch of paperwork to have it moved to Portugal and out of the US. So,

not ideal….”

                                        66.


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      To the best of Plaintiff’s recollection, July 24, 2023 is the first date she

reviewed any of the pleadings in the Haulter Lawsuit online.

                                        67.

      Upon reviewing the Haulter Lawsuit, Plaintiff discovered the allegations

contained therein for the first time.

                                        68.

      Plaintiff also discovered that no defendants had been served and no

answers had been filed in the Haulter Lawsuit.

                                        69.

      Plaintiff assumed Haulter’s representations that the case would be

moved to Portugal were true and a new lawsuit would be filed.

                                        70.

      After not receiving any updates from Haulter for several weeks, Plaintiff

again searched for the Haulter Lawsuit online on or about October 17, 2023.

                                        71.

      To Plaintiff’s surprise, she found that a “Notice of Settlement” had been

entered in the Haulter Lawsuit on October 10, 2023.

                                        72.

      Haulter never communicated nor mentioned any settlement agreement

to Plaintiff at any time prior to Plaintiff’s discovery of the same on or about

October 17, 2023.


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                                      73.

      Plaintiff did not agree, consent, nor authorize Haulter to enter into any

agreements with DFJ Vinhos on Plaintiff’s behalf.

                                      74.

      Haulter intentionally misled Plaintiff about the status and nature of the

Haulter Lawsuit so that Haulter could claim all compensation for the

Copyrighted     Photograph     under        false   pretenses   and   material

misrepresentations.

                                      75.

      On October 20, 2023, Plaintiff’s counsel contacted Haulter’s counsel

regarding the revelation of a settlement agreement between Haulter and DFJ

Vinhos (the “Settlement Agreement”).

                                      76.

      During the conversation with Haulter’s counsel on October 20, 2023,

Plaintiff’s counsel was led to believe that no funds had been received from the

Settlement Agreement.

                                      77.

      Subsequently, on the evening of October 20, 2023, Haulter’s counsel

emailed Plaintiff’s counsel that counsel for DFJ Vinhos “is formally going to

make a request of me that I return funds received to his firm’s trust account.”

                                      78.


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      On October 23, 2023, Plaintiff’s counsel held a conference call with DFJ

Vinhos’ counsel regarding the false allegations in the Haulter Lawsuit and the

Settlement Agreement.

                                     79.

      During the October 23, 2023 conference call, Plaintiff’s counsel learned

that two out of four payments under the Settlement Agreement had already

been made to Haulter.

                                     80.

      To date, Plaintiff’s counsel has been refused access to the terms of the

Settlement Agreement.

                                     81.

      Because Haulter does not own any rights to the Copyrighted Photograph,

the amounts she has received under the Settlement Agreement constitute an

infringement of Plaintiff’s Copyrighted Photograph for commercial gain.

                                     82.

      On October 25, 2023, Plaintiff’s counsel sent Haulter’s counsel a formal

demand letter instructing Haulter to, among other things, submit paperwork

to the U.S. Copyright Office to cancel the False Haulter Copyright she

registered for the Copyrighted Photograph and disgorge any funds she received

relating to her false claim of ownership to the Copyrighted Photograph.

                                     83.


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      Haulter not only refused to comply with Plaintiff’s demands, Haulter

continues to falsely claim (to this day) that she personally took the Copyrighted

Photograph and owns all rights.

                                       84.

      Plaintiff now brings an action in her own name and rights against DFJ

Vinhos and Haulter.

    COUNT ONE – COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)
                   AGAINST DFJ VINHOS

                                       85.

      Plaintiff realleges and incorporates by reference the allegations

contained in paragraphs 1 through 84 of this Complaint as though fully stated

herein.

                                       86.

      Plaintiff is the original author, creator, and source of the Copyrighted

Photograph.

                                       87.

      Plaintiff has registered a valid copyright with the U.S. Copyright Office

under Registration Number VA 2-367-866 covering the Copyrighted

Photograph.

                                       88.




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      The Berne Convention is the Convention for the Protection of Literary

and Artistic Works, signed at Berne, Switzerland, on September 9, 1886, and

includes all acts, protocols, and revisions thereto. 17 U.S.C. § 101.

                                        89.

      Portugal is a signatory to the Berne Convention thus subjecting DFJ

Vinhos to the provisions thereof.

                                        90.

      Under the Berne Convention, Plaintiff is entitled to actual damages

accruing from DFJ Vinhos’ infringement of the Copyrighted Photograph in

each country the PAXIS Bulldog wine brands have been distributed and sold.

                                        91.

      DFJ Vinhos performed all acts alleged in this Complaint in the course

and scope of its commercial business activities with an intent to profit from the

PAXIS Label and PAXIS “Bulldog” brand.

                                        92.

      DFJ Vinhos willfully, or at a minimum, recklessly infringed upon

Plaintiff’s Copyrighted Photograph with the intent to profit therefrom.

                                        93.

      As a direct and proximate cause of DFJ Vinhos’ infringement, Plaintiff

suffered monetary damages in an amount to be proven at the trial of this

matter.


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                                       94.

      In accordance with 17 U.S.C. § 504 (b), Plaintiff is entitled to recovery of

her actual damages, including DFJ Vinhos’ gross profits that are attributable

to the infringement. Plaintiff is also entitled to an injunction against future

use of the Copyrighted Photograph pursuant to 17 USC § 502.

                                       95.

      In accordance with 17 U.S.C. § 505, Plaintiff is entitled to recovery of her

attorneys’ fees and expenses of litigation against DFJ Vinhos.

   COUNT TWO – DECLARATORY JUDGMENT FOR INJUNCTIVE
                RELIEF AGAINST HAULTER
                          96.

      Plaintiff realleges and incorporates by reference the allegations

contained in paragraphs 1 through 84 of this Complaint as though fully stated

herein.

                                       97.

      As set forth above, Haulter is not the creator or author of Plaintiff’s

Copyrighted Photograph. Haulter was not present when Plaintiff took the

Copyrighted Photograph, she did not suggest that Plaintiff take the

Copyrighted Photograph, she did not advise as to how the Copyrighted

Photograph should be staged, and she did not even know that Plaintiff took the

Copyrighted Photograph until well after it was taken.

                                       98.


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      On May 18, 2023, Haulter has registered the False Haulter Copyright

with the US Copyright Office claiming that she is the author and creator of the

Copyrighted Photograph.

                                      99.

      In doing so, Haulter falsely certified to the US Copyright Office that she

is the author and owner of the exclusive copyright of the Copyrighted

Photograph. Based on those false representations, the US Copyright Office

issued a Certificate of Registration with Registration No. VA 2-347-785.

                                     100.

      Haulter filed a lawsuit in the Middle District of Florida against DFJ

Vinhos falsely alleging that she created the Copyrighted Photograph in 2009.

                                     101.

      Upon information and belief, Haulter has represented to others that she

is the creator of the Copyrighted Photograph. Upon information and belief,

Haulter reached a settlement agreement with DFJ Vinhos whereby she falsely

presented herself as the creator of the Copyrighted Photograph.

                                     102.

      Haulter has accepted money from DFJ Vinhos as part of the settlement

with DFJ Vinhos.

                                     103.




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      Plaintiff has registered her own copyright for the Copyrighted

Photograph.

                                      104.

      This Court has authority to issue a declaratory judgment and injunctive

relief on the issue of copyright infringement. This Court has authority to enjoin

Haulter and require her to initiate proceedings to withdraw her alleged

copyright of the Copyrighted Photograph with the US Copyright Office.

                                      105.

      Plaintiff respectfully requests that this Court declare that she is the true

owner of the Copyrighted Photograph. Plaintiff further requests that this

Court order Haulter to to withdraw her copyright claim with the US Copyright

Office.

   COUNT THREE – COPYRIGHT INFRINGEMENT (17 U.S.C. § 501)
                    AGAINST HAULTER

                                      106.

      Plaintiff realleges and incorporates by reference the allegations

contained in paragraphs 1 through 84 of this Complaint as though fully stated

herein.

                                      107.

      Plaintiff is the original author, creator, and source of the Copyrighted

Photograph.

                                      108.

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      Plaintiff has registered a valid copyright with the U.S. Copyright Office

under Registration No. VA 2-367-866 covering the Copyrighted Photograph.

                                      109.

      Haulter willfully infringed upon Plaintiff’s Copyrighted Photograph with

the intent to profit therefrom.

                                      110.

      Haulter knowingly provided materially false information to the U.S.

Copyright Office to register the Copyrighted Photograph in her own name.

                                      111.

      Haulter knowingly provided materially false information to DFJ Vinhos

concerning   the    Settlement    Agreement        by   claiming   the   Copyrighted

Photograph as her own with the intent to profit therefrom.

                                      112.

      As a direct and proximate cause of Haulter’s infringement, Plaintiff

suffered monetary damages in an amount to be proven at the trial of this

matter.

                                      113.

      In accordance with 17 U.S.C. § 504 (b), Plaintiff is entitled to recovery of

her actual damages, including Haulter’s gross profits that are attributable to

the infringement.

                                      114.


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      Haulter knew that she did not own any rights to the Copyrighted

Photograph and falsely represented that she did to the United States District

Court, U.S. Copyright Office, and DFJ Vinhos in a willful attempt to profit

from Plaintiff’s Copyrighted Photograph.

                                      115.

      Therefore, in accordance with 17 U.S.C. § 504(c), Plaintiff is alternatively

entitled to recovery of statutory damages against Haulter as a consequence of

Haulter’s willful infringement in an amount of $150,000.

                                      116.

      In accordance with 17 U.S.C. § 505, Plaintiff is entitled to recovery of her

attorneys’ fees and expenses of litigation against Haulter.

       COUNT FOUR – ATTORNEYS’ FEES AND EXPENSES OF
                        LITIGATION
                     AGAINST HAULTER

                                      117.

      Plaintiff realleges and incorporates by reference paragraphs 1 through

84 of this Complaint as though fully stated herein.

                                      118.

      Haulter has acted in bad faith, been stubbornly litigious, and has caused

Plaintiff unnecessary trouble and expense within the meaning of O.C.G.A. §

13-6-11.

                                      119.


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      Therefore, Haulter is liable for Plaintiff’s reasonable attorneys’ fees and

expenses of litigation incurred through final disposition of this matter in an

amount to be proven at trial.


                           PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered in her favor

against Defendants as follows:

   (a) Declare the Haulter Copyright invalid, null, and void with direction to

      cancel the same on file with the U.S. Copyright Office;

   (b) Award Plaintiff her actual damages and Defendants’ profits attributable

      to   copyright   infringement     against    Defendants,   individually   or

      collectively;

   (c) Alternatively award Plaintiff statutory damages against Defendants,

      individually or collectively, for willful copyright infringement;

   (d) Enjoin   Defendants      from   appropriating    Plaintiff’s   Copyrighted

      Photograph, including the immediate removal of the Copyrighted Work

      from all advertisements within Defendants’ custody or control;

   (e) Enter an order cancelling Registration Number VA 2-347-785 on file

      with the U.S. Copyright Office;

   (f) Award Plaintiff her attorneys’ fees and expenses of litigation against

      Defendants under applicable statutory provisions;

   (g) Award Plaintiff all interest, including prejudgment and post-judgment

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     interest, on monetary amounts owed according to law; and

  (h) Award such other and further relief as the Court deems just and proper.

     Respectfully submitted this the 19th day of December, 2023.


                                                /s/Nicholas Sears
                                                Bryan M. Knight
                                                Georgia Bar No. 142401
                                                Jonathan M. Palmer
                                                Georgia Bar No.
                                                Nicholas Sears
                                                Georgia Bar No.
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